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               EXHIBIT A
            Case 4:23-cv-02371 Document 21-1 Filed on 09/06/23 in TXSD Page 2 of 3


John Watkins

From:              John Watkins
Sent:              Friday, August 4, 2023 12:01 PM
To:                158027678@qq.com; 449355941@qq.com; ip@afnlegal.com; jamesliu@jameslawofficeflorida.com;
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                   omar@darwichlegal.com ; surprisedeals02@hotmail.com; usipleoxu@gmail.com
Cc:                David Cabello; Munira Jesani
Subject:           Good Sportsman Marketing, LLC v. Chen, et al.; C.A. No. 4:23-cv-2371
Attachments:       006-1_2023.07.10 Exhibit 1.pdf; 006-2_2023.07.10 Exhibit 2.pdf; 006-3_2023.07.10 Exhibit 3.pdf; 006-4
                   _2023.07.10 Exhibit 4.pdf; 011_2023.07.11 Amended Civil Cover Sheet.pdf; 006_2023.07.10 First
                   Amended Complaint.pdf

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                   David Cabello                                     Read: 8/4/2023 12:21 PM

                   Munira Jesani                                     Read: 8/4/2023 12:14 PM




Dear All,

Attached for service, please find Plaintiff’s First Amended Complaint in the above-referenced matter.

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